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Information to identify the case:
Debtor 1                Adam Jared Smith                                                Social Security number or ITIN        xxx−xx−0458
                        First Name   Middle Name     Last Name                          EIN _ _−_ _ _ _ _ _ _
Debtor 2                Tiffany Anne Smith                                              Social Security number or ITIN        xxx−xx−3117
(Spouse, if filing)
                        First Name   Middle Name     Last Name                          EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court              Southern District of Texas
                                                                                        Date case filed for chapter 7 5/6/20
Case number:           20−32495


Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                             12/15

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
                                                   About Debtor 1:                                   About Debtor 2:

1.      Debtor's full name                         Adam Jared Smith                                  Tiffany Anne Smith

2.      All other names used in the
        last 8 years

3.     Address                                 9993 Katie Brook Lane                                 9993 Katie Brook Lane
                                               Brookshire, TX 77423                                  Brookshire, TX 77423

4.     Debtor's attorney                       Nicholas M Wajda                                     Contact phone 214−396−6008
                                               Wajda & Associates, APC
       Name and address                        5430 Lyndon B Johnson Fwy, Ste 1200                  Email: nick@recoverylawgroup.com
                                               Dallas, TX 75240

5.     Bankruptcy trustee                      Ronald J Sommers                                     Contact phone 713−892−4801
                                               Nathan Sommers Jacobs
       Name and address                        2800 Post Oak Blvd                                   Email: efile@nathansommers.com
                                               61st Floor
                                               Houston, TX 77056
                                                                                                               For more information, see page 2 >
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                    page 1
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Debtor Adam Jared Smith and Tiffany Anne Smith                                                                             Case number 20−32495


6. Bankruptcy clerk's office                    United States Bankruptcy Court                               Hours open:
                                                PO Box 61010                                                 8:00 am − 5:00 pm Monday
    Documents in this case may be filed at this Houston, TX 77208                                            through Friday
    address. You may inspect all records filed
    in this case at this office or online at
    www.pacer.gov.                                                                                           Contact phone (713) 250−5500

                                                                                                             Date: 5/7/20

7. Meeting of creditors                          June 3, 2020 at 01:00 PM                                    Location:

    Debtors must attend the meeting to be        The meeting may be continued or adjourned to a              Telephone Conference, Call
    questioned under oath. In a joint case,      later date. If so, the date will be on the court            866−717−2955, passcode
    both spouses must attend. Creditors may
    attend, but are not required to do so.       docket.                                                     6974465


8. Presumption of abuse                          The presumption of abuse does not arise.

    If the presumption of abuse arises, you
    may have the right to file a motion to
    dismiss the case under 11 U.S.C. §
    707(b). Debtors may rebut the
    presumption by showing special
    circumstances.


9. Deadlines                                   File by the deadline to object to discharge or                Filing deadline: 8/3/20
                                               to challenge whether certain debts are
    The bankruptcy clerk's office must receive dischargeable:
    these documents and any required filing
    fee by the following deadlines.
                                                 You must file a complaint:
                                                 • if you assert that the debtor is not entitled to
                                                   receive a discharge of any debts under any of the
                                                   subdivisions of 11 U.S.C. § 727(a)(2) through (7),
                                                   or

                                                 • if you want to have a debt excepted from discharge
                                                   under 11 U.S.C § 523(a)(2), (4), or (6).

                                                 You must file a motion:
                                                 • if you assert that the discharge should be denied
                                                   under § 727(a)(8) or (9).


                                                 Deadline to object to exemptions:                           Filing deadline: 30 days after the
                                                 The law permits debtors to keep certain property as         conclusion of the meeting of creditors
                                                 exempt. If you believe that the law does not authorize an
                                                 exemption claimed, you may file an objection.


10. Proof of claim                               No property appears to be available to pay creditors. Therefore, please do not file a
                                                 proof of claim now. If it later appears that assets are available to pay creditors, the clerk
    Please do not file a proof of claim unless   will send you another notice telling you that you may file a proof of claim and stating the
    you receive a notice to do so.               deadline.

11. Creditors with a foreign address If you are a creditor receiving a notice mailed to a foreign address, you may file a motion
                                     asking the court to extend the deadlines in this notice. Consult an attorney familiar with
                                     United States bankruptcy law if you have any questions about your rights in this case.

12. Exempt property                              The law allows debtors to keep certain property as exempt. Fully exempt property will
                                                 not be sold and distributed to creditors. Debtors must file a list of property claimed as
                                                 exempt. You may inspect that list at the bankruptcy clerk's office or online at
                                                 www.pacer.gov. If you believe that the law does not authorize an exemption that the
                                                 debtors claim, you may file an objection. The bankruptcy clerk's office must receive the
                                                 objection by the deadline to object to exemptions in line 9.
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                           page 2
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                                               United States Bankruptcy Court
                                                Southern District of Texas
In re:                                                                                                     Case No. 20-32495-drj
Adam Jared Smith                                                                                           Chapter 7
Tiffany Anne Smith
         Debtors
                                                 CERTIFICATE OF NOTICE
District/off: 0541-4                  User: ClaudiaGu                    Page 1 of 1                          Date Rcvd: May 07, 2020
                                      Form ID: 309A                      Total Noticed: 19


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
May 09, 2020.
db/jdb         +Adam Jared Smith,    Tiffany Anne Smith,    9993 Katie Brook Lane,    Brookshire, TX 77423-1510
10990182       +Account Resolution Services,    Attn: Bankruptcy,    Po Box 459079,    Sunrise, FL 33345-9079
10990185       +Caine & Weiner,    Attn: Bankruptcy,    5805 Sepulveda Blvd,    Sherman Oaks, CA 91411-2546
10990188       +Freedom Mortgage Company,    907 Pleasant Valley Ave #3,     Mount Laurel, NJ 08054-1210
10990189       +Freedom Mortgage Corporation,    Attn: Bankruptcy,    907 Pleasant Valley Ave, Ste 3,
                 Mt Laurel, NJ 08054-1210
10990190       +Harvest Associates I,    821 Crossbridge Dr.,    Spring, TX 77373-3501
10990192       +Houston Police CU,    1600 Memorial,    Houston, TX 77007-7789
10990193       +Houston Police CU,    Attn: Bankruptcy,    1600 Memorial Drive,    Houston, TX 77007-7789
10990195       +SCS/Specialized Collection Systems,     Attn: Bankruptcy,    Po Box 441508,
                 Houston, TX 77244-1508

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
aty             E-mail/Text: nick@recoverylawgroup.com May 07 2020 22:56:04        Nicholas M Wajda,
                 Wajda & Associates, APC,    5430 Lyndon B Johnson Fwy, Ste 1200,     Dallas, TX 75240
tr             +EDI: FRJSOMMERS.COM May 08 2020 02:08:00      Ronald J Sommers,     Nathan Sommers Jacobs,
                 2800 Post Oak Blvd,   61st Floor,    Houston, TX 77056-6131
ust            +E-mail/Text: ustpregion07.hu.ecf@usdoj.gov May 07 2020 22:58:12        US Trustee,
                 Office of the US Trustee,    515 Rusk Ave,   Ste 3516,    Houston, TX 77002-2604
10990184       +EDI: GMACFS.COM May 08 2020 02:08:00      Ally Financial,    Attn: Bankruptcy,     Po Box 380901,
                 Bloomington, MN 55438-0901
10990183        EDI: GMACFS.COM May 08 2020 02:08:00      Ally Financial,    P.O. Box 9001951,
                 Louisville, KY 40290-1951
10990186       +E-mail/Text: electronicbkydocs@nelnet.net May 07 2020 22:58:40
                 Department of Education/Nelnet,    Attn: Claims,    Po Box 82505,    Lincoln, NE 68501-2505
10990187        EDI: FORD.COM May 08 2020 02:08:00      Ford Motor Credit,    National Bankruptcy Service Center,
                 Po Box 62180,   Colorado Springs, CO 80962
10990191       +E-mail/Text: bfinnall@hillcrestdavidson.com May 07 2020 22:57:45        Hillcrest Davidson & A,
                 Attn: Bankruptcy,   715 N Glenville - Suite 450,     Richardson, TX 75081-2898
10990194       +E-mail/Text: collections1@primewayfcu.com May 07 2020 22:59:33        Primeway Federal Cu,
                 Po Box 53088,   Houston, TX 77052-3088
10990196       +EDI: WTRRNBANK.COM May 08 2020 02:08:00      Target,    c/o Financial & Retail Srvs,
                 Mailstop BT POB 9475,    Minneapolis, MN 55440-9475
                                                                                               TOTAL: 10

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: May 09, 2020                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on May 7, 2020 at the address(es) listed below:
              Nicholas M Wajda   on behalf of Joint Debtor Tiffany Anne Smith nick@recoverylawgroup.com,
               r47098@notify.bestcase.com
              Nicholas M Wajda   on behalf of Debtor Adam Jared Smith nick@recoverylawgroup.com,
               r47098@notify.bestcase.com
              Ronald J Sommers   efile@nathansommers.com, RS@trustesolutions.com,RS@trustesolutions.net,
               pbuenano@nathansommers.com
              US Trustee   USTPRegion07.HU.ECF@USDOJ.GOV
                                                                                            TOTAL: 4
